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    COSTA MESA, CA 92626




                                    Kristy Zhang
                               14
                               15                           UNITED STATES DISTRICT COURT
                                                           CENTRAL DISTRICT OF CALIFORNIA
                               16
                                    KRISTY ZHANG,                                    Case No.: CV17-357 CJC (RAOx)
                               17   INDIVIDUALLY AND ON
                                    BEHALF OF ALL OTHERS
                               18   SIMILARLY SITUATED,                              JOINT STIPULATION TO
                               19                                                    DISMISS ACTION WITHOUT
                                                  Plaintiff,                         PREJUDICE PURSUANT TO FED.
                               20                                                    R. CIV. P. 41(A)
                                                      v.
                               21
                                                                                     HON. CORMAC J. CARNEY
                               22   THE CHEESECAKE FACTORY
                                    INCORPORATED,
                               23
                                                  Defendant.
                               24
                               25
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                               27
                               28
                                    Case # CV17-357 CFC (RAOx)               Zhang, et al. v. The Cheesecake Factory Incorporated
                                    JOINT STIPULATION TO DISMISS ACTION WITHOUT PREJUDICE PURSUANT TO FED. R. CIV. P.
                                                                         41(A)
                                Case 8:17-cv-00357-CJC-RAO Document 45 Filed 10/01/19 Page 2 of 4 Page ID #:182


                                           TO THIS COURT AND TO ALL PARTIES AND THEIR
                               1
                                    RESPECTIVE ATTORNEYS OF RECORD:
                               2
                                           This Stipulation to Dismiss Proceeding without Prejudice (“Stipulation”) is
                               3
                                    entered into and between Plaintiff, KRISTY ZHANG, individually and on behalf
                               4
                                    of others similarly situated (“Zhang”) and Defendant, THE CHEESECAKE
                               5
                                    FACTORY INCORPORATED (“Cheesecake”);
                               6
                                           WHEREAS, Zhang and Cheesecake, by and through their undersigned
                               7
                                    counsel, hereby stipulate to dismiss without prejudice, each claim and count
                               8
                                    therein asserted by Plaintiff against the Defendant, in the above styled action;
                               9
                                           WHEREAS, Zhang and Cheesecake have reached a class settlement after
                               10
                                    an all-day mediation on April 3, 2018 before the Honorable A. Howard Matz
                               11
                               12   (Ret.) as well as additional follow up discussions to reach a resolution. The class
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                               13   settlement is a common fund settlement where no money will revert back to
    COSTA MESA, CA 92626




                               14   Defendants, and Plaintiffs’ counsels and Plaintiffs will petition for attorney fees

                               15   and costs and incentive awards respectively. There is no clear sailing agreement

                               16   for attorney fees or an incentive award. This class settlement includes the related

                               17   cases Tibbetts v. The Cheesecake Factory Restaurants, Inc., No. 2:17-cv-00968-

                               18   LDW-AYS (E.D.N.Y.), and Muransky v. The Cheesecake Factory Inc., No.8:17-

                               19   cv-07569-CJC-RAO (C.D. Cal.) for which separate stipulations seeking the same

                               20   relief will be filed.

                               21          WHEREAS, Zhang and Cheesecake have agreed that this action will be re-

                               22   filed to in California state court to seek approval of the class settlement due to the

                               23   Ninth Circuit precedent Bassett v. ABM Parking Servs., 883 F.3d 776, 777 (9th

                               24   Cir. 2018) and Dutta v. State Farm Mut. Auto. Ins. Co., 895 F.3d 1166, 1176 (9th

                               25   Cir. 2018) holding there was no Article III Standing for the FACTA claims raised

                               26   in those cases;

                               27
                               28      Case # CV17-357 CJC (RAOx)         1 of 3   Zhang, et al. v. The Cheesecake Factory
                                    JOINT STIPULATION TO DISMISS ACTION WITHOUT PREJUDICE PURSUANT TO FED. R. CIV. P.
                                                                         41(A)
                                Case 8:17-cv-00357-CJC-RAO Document 45 Filed 10/01/19 Page 3 of 4 Page ID #:183


                                             NOW THEREFORE, the Parties, through their respective counsel of
                               1
                                    record, hereby stipulate and agree to dismiss this proceeding without prejudice
                               2
                                    and with each party to bear their own respective costs in order to re-file in state
                               3
                                    court.
                               4
                               5
                                    Dated: September 30, 2019                                    Respectfully submitted,
                               6
                               7                                                        KAZEROUNI LAW GROUP, APC
                               8
                                                                                             By: s/ Matthew M. Loker
                               9                                                            MATTHEW M. LOKER, ESQ.
                                                                                       ATTORNEY FOR PLAINTIFF ZHANG
                               10
                               11                                                           GREENBERG TRAURIG, LLP
                               12
KAZEROUNI LAW GROUP, APC




                                                                                              By: s/ Rick L. Shackelford
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                               13                                                            RICK L. SHACKELFORD, ESQ.
    COSTA MESA, CA 92626




                               14                                                            ATTORNEY FOR DEFENDANT

                               15                        SIGNATURE CERTIFICATION
                               16
                                    Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
                               17   and Procedures Manual, I hereby certify that the content of this document is
                               18   acceptable to all defense counsel, and that I have obtained their authorization to
                                    affix electronic signatures to this document.
                               19
                               20   Dated: September 30, 2019                            KAZEROUNI LAW GROUP, APC

                               21                                                            By: s/ Matthew M. Loker
                               22                                                           MATTHEW M. LOKER, ESQ.
                                                                                       ATTORNEY FOR PLAINTIFF ZHANG
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                               28      Case # CV17-357 CJC (RAOx)         2 of 3   Zhang, et al. v. The Cheesecake Factory
                                    JOINT STIPULATION TO DISMISS ACTION WITHOUT PREJUDICE PURSUANT TO FED. R. CIV. P.
                                                                         41(A)
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                                                                CERTIFICATE OF SERVICE
                               1
                                          A copy of the foregoing Joint Stipulation to Dismiss Action without
                               2
                                    Prejudice has been filed this 1st day of October 2019, through the Court’s
                               3
                                    electronic filing system. All parties may access the foregoing via the Court’s
                               4
                                    electronic filing system.
                               5
                               6
                                                                                           ___/s/ Matthew M. Loker___
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                                                                                                      Matthew M. Loker
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                               28      Case # CV17-357 CJC (RAOx)         3 of 3   Zhang, et al. v. The Cheesecake Factory
                                    JOINT STIPULATION TO DISMISS ACTION WITHOUT PREJUDICE PURSUANT TO FED. R. CIV. P.
                                                                         41(A)
